             Case 2:20-cr-00092-JCC Document 520 Filed 06/22/21 Page 1 of 3




 1                                                                The Hon. John C. Coughenour
 2
 3
 4
 5
 6
 7                       UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE
 9
10      UNITED STATES OF AMERICA,                        NO. CR20-092-JCC
11                           Plaintiff,
12                      v.                               FORFEITURE BILL
                                                         OF PARTICULARS
13
        ALAN GOMEZ-MARENTES, et al.,
14
                             Defendants.
15
16
17          In the Second Superseding Indictment filed on April 1, 2021, the United States
18 gave notice of its intent to seek forfeiture in this case pursuant to 21 U.S.C. § 853
19 (authorizing the forfeiture of property that facilitated, or constitutes proceeds of, the
20 charged drug offenses) and 18 U.S.C. § 982(a)(1) (authorizing the forfeiture of property
21 involved in the charged money laundering offense or traceable to such property). Dkt.
22 No. 378, at 12–13. Now, pursuant to Fed. R. Crim. P. 7(f) and 32.2(a), the United States
23 identifies the following property for forfeiture on the same bases:
24          1.     $1,500 of the $9,245.00 in U.S. currency, which was seized on or about
25                 July 28, 2020, from Defendant Ruth Melisa Gomez-Marentes’s residence
26                 located in Kent, Washington.
27 //
28

     Bill of Particulars - 1                                               UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     United States v. Alan Gomez-Marentes, et al., CR20-092-JCC             SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
             Case 2:20-cr-00092-JCC Document 520 Filed 06/22/21 Page 2 of 3




 1         DATED this 22nd day of June, 2021.
 2
                                                 Respectfully submitted,
 3
                                                 TESSA M. GORMAN
 4
                                                 Acting United States Attorney
 5
 6                                                 s/Jehiel I. Baer
                                                 JEHIEL I. BAER
 7
                                                 Assistant United States Attorney
 8                                               United States Attorney’s Office
                                                 700 Stewart Street, Suite 5220
 9
                                                 Seattle, WA 98101
10                                               (206) 553-2242
                                                 Jehiel.Baer@usdoj.gov
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     Bill of Particulars - 2                                                UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
     United States v. Alan Gomez-Marentes, et al., CR20-092-JCC              SEATTLE, WASHINGTON 98101
                                                                                   (206) 553-7970
             Case 2:20-cr-00092-JCC Document 520 Filed 06/22/21 Page 3 of 3




 1                                 CERTIFICATE OF SERVICE
 2
 3         I hereby certify that on June 22, 2021, I electronically filed the foregoing Bill of
 4 Particulars with the Clerk of the Court using the CM/ECF system, which sends notice of
 5 the filing to all ECF participants of record.
 6
 7                                                 s/Donna R. Taylor
                                                 DONNA R. TAYLOR
 8
                                                 FSA Paralegal III, Contractor
 9                                               United States Attorney’s Office
                                                 700 Stewart Street, Suite 5220
10
                                                 Seattle, WA 98101
11                                               (206) 553-4132
                                                 Donna.R.Taylor@usdoj.gov
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     Bill of Particulars - 3                                               UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     United States v. Alan Gomez-Marentes, et al., CR20-092-JCC             SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
